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                                                 11                      UNITED STATES DISTRICT COURT
                                                 12                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                 13
TROJAN LAW OFFICES




                                                       PARAMOUNT PICTURES                   CASE NO. 2:19-cv-01156-DMG-PJW
                                                       CORPORATION; COLUMBIA
                     B E V E R L Y H I L LS




                                                 14
                                                       PICTURES INDUSTRIES, INC.;          [PROPOSED] ORDER GRANTING
                                                 15    DISNEY ENTERPRISES, INC.;           DEFENDANTS’ MOTION (1) TO
                                                 16    TWENTIETH CENTURY FOX FILM          SEVER FOR IMPERMISSIVE
                                                       CORPORATION; WARNER BROS.           JOINDER OF PARTY PLAINTIFFS;
                                                 17    ENTERTAINMENT INC.;                 (2) FOR MORE DEFINITE
                                                 18    UNIVERSAL CITY STUDIOS              STATEMENT; AND (3) TO STRIKE
                                                       PRODUCTIONS LLLP;                   SCANDALOUS AND IMMATERIAL
                                                 19
                                                       UNIVERSAL TELEVISION LLC;           PORTIONS OF THE COMPLAINT
                                                 20    and UNIVERSAL CONTENT
                                                       PRODUCTIONS LLC,
                                                 21
                                                                                            Hon. Dolly M. Gee
                                                 22        Plaintiffs,
                                                         v.                                Hearing Date: May 24, 2019
                                                 23    OMNIVERSE ONE WORLD                 Time: 9:30 a.m.
                                                 24    TELEVISION, INC.; JASON M.          Courtroom: 8C
                                                       DEMEO,
                                                 25
                                                            Defendants.
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                                                  1          Before the Court is Defendants OMNIVERSE ONE WORLD TELEVISION,
                                                  2   INC. and JASON M. DEMEO’s (collectively as “Defendants”) motion (1) to sever
                                                  3   for impermissive joinder of party plaintiffs; (2) for more definite statement; and (3)
                                                  4   to strike scandalous and immaterial portions of the complaint against Plaintiffs
                                                  5   PARAMOUNT           PICTURES       CORPORATION;          COLUMBIA         PICTURES
                                                  6   INDUSTRIES, INC.; DISNEY ENTERPRISES, INC.; TWENTIETH CENTURY
                                                  7   FOX FILM CORPORATION; WARNER BROS. ENTERTAINMENT INC.;
                                                  8   UNIVERSAL         CITY      STUDIOS      PRODUCTIONS         LLLP;       UNIVERSAL
                                                  9   TELEVISION LLC; and UNIVERSAL CONTENT PRODUCTIONS LLC
                                                 10   (collectively, “Plaintiffs”).
                                                 11          Having considered the motion, the opposition, the reply, the arguments therein
                                                 12   and the evidence in the record, and for good cause appearing, the Court finds as
                                                 13
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                                                      follows:
                     B E V E R L Y H I L LS




                                                 14          The Complaint (ECF No. 1) does not state facts demonstrating how
                                                 15   Defendants infringed Plaintiffs’ different copyrighted properties, nor the relatedness
                                                 16
                                                      of Plaintiffs’ claims to be joined in one action against Omniverse;
                                                 17          The Complaint is ambiguous regarding whether Defendants allegedly pirated
                                                 18
                                                      the intellectual property in question, or whether Defendants’ marketing activities
                                                 19
                                                      have merely exceeded the scope of a license agreement, or both; and
                                                 20
                                                             The Complaint’s comparisons of Defendants to Dragon Box, an unrelated
                                                 21
                                                      third-party, are immaterial and cast a derogatory light on Defendants.
                                                 22
                                                      IT IS HEREBY ORDERED THAT:
                                                 23
                                                             Defendants’ Motion is GRANTED.
                                                 24
                                                             The following Plaintiffs are dismissed from the case pursuant to Federal Rule
                                                 25
                                                      of Civil Procedure 21:
                                                 26
                                                                 1. Columbia Pictures Industries, Inc.;
                                                 27
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                                              Case 2:19-cv-01156-DMG-PJW Document 30-1 Filed 04/10/19 Page 3 of 3 Page ID #:163



                                                  1            2.   Disney Enterprises, Inc.;
                                                  2            3.   Twentieth Century Fox Film Corporation;
                                                               4.   Warner Bros. Entertainment Inc.;
                                                  3
                                                               5.   Universal City Studios Productions LLLP;
                                                  4            6.   Universal Television LLC; and
                                                  5            7.   Universal Content Productions LLC.

                                                  6         Plaintiff Paramount Pictures Corporation must submit an amended complaint
                                                  7   providing a more definite statement regarding whether Defendants allegedly pirated
                                                  8   the intellectual property at issue, or whether Defendants’ marketing activities have
                                                  9   exceeded the scope of a license agreement, or both within 10 days of this Order.
                                                 10         All references to Dragon Box, including paragraphs 1, 3, 30, and 37 and
                                                 11   footnote 1 of paragraph 1, are to be stricken from the Complaint.
                                                 12

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                     B E V E R L Y H I L LS




                                                 14   IT IS SO ORDERED.
                                                 15

                                                 16   Dated this ____ day of May, 2019

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                                                                                                     Honorable Dolly M. Gee
                                                 19                                                  United States District Judge
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